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. UNITED sTATEs DISTRICT coURT
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ALEXANDRIA DIvIsIoN

LEE TREADWAY (D.o.c. #96980) DOCKET No. 08-cv-1908
vERsUs JUDGE DEE D. DRELL
TIM wILKINsoN, ET AL. MAGISTRATE JUDGE JAMES D. KIRK

REPORT AND RECOMMENDATION

Before the court is the pro se civil rights complaint (42
U.S.C. § 1983) of Plaintiff Lee Treadway, filed in forma pauperis
on December 2, 2008. Treadway is an inmate in the custody of the
Louisiana Department of Public Safety and Corrections. He is
currently housed at the Richwood Correctional Center in Monroe,
Louisiana, but the incidents complained of occurred when he was
housed at Winn Correctional Center (“WCC”). He names as defendants
Tim Wilkinson and C. Coldemen.

This matter has been referred to the undersigned for review,
report, and recommendation pursuant to 28 U.S.C. § 626 and the
standing orders of the court.

STATEMENT OF THE CASE

Plaintiff claims that he being held beyond his proper release
date of October 8, 2008. He seeks compensatory damages in the
amount of three hundred dollars for each day that he is
incarcerated after October 8, 2008, as well as punitive damages.
He also seeks the appointment of an attorney to represent him in

this matter.

Plaintiff states that he lost a significant amount of good
time following multiple disciplinary convictions on January 6,
2000, October 2, 2006, and October 24, 2006. He complains that the
disciplinary board did not follow proper procedure in imposing his
sentences, thereby violating his constitutional rights.

LAW AND ANALYISIS

l. APPOINTMENT OF COUNSEL

Plaintiff requests that counsel be appointed to assist him in
this litigation. “Generally no right to counsel exists in §1983
actions [but] appointment of counsel should be made as authorized
by 28 U.S.C. §1915 where ‘exceptional circumstances' are present.”
Robbins v. Maqgio, 750 F.2d. 405 (5th Cir. l985). No precise
definition of “exceptional circumstances” is available, but the
court can consider the following factors: the type and complexity
of the case; the plaintiff's ability to adequately present and
investigate his case; the presence of evidence which largely
consists of conflicting testimony so as to require skill in
presentation of evidence and cross-examination; and the likelihood
that appointment will benefit the petitioner, the court, and the
defendants by “shortening the trial and assisting in just

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determination. See Parker v. Carpenter, 978 F.2d. 190 (5th Cir.
1992), citing Murphy v. Kellar, 950 F.2d. 290, 293, n.l4 (5th Cir.
1992).

In this civil rights case, Plaintiff has alleged that he was

wrongfully deprived of “good time” credits. This claim is not
atypical of those often asserted by inmates proceeding pro se, and
it is not complex. The appointment of counsel would not shorten
the trial and is not necessary for a just determination because
this case is one that can be disposed of on the face of the
complaint. Accordingly, Plaintiff’s request for appointment of
counsel should be denied.

2. SENTENCE IMPOSED - LOSS OF` “GOOD TIME”

Plaintiff's claim stems from one or more disciplinary
convictions that resulted in the loss of good time credits. The
Supreme Court has held that a plaintiff in a 42 U.S.C. §l983 action
may not recover damages for “allegedly unconstitutional conviction
or imprisonment, or for other harm caused by actions whose
unlawfulness would render a conviction or sentence invalid,” unless
he “prove[s] that the conviction or sentence has been reversed on
direct appeal, expunged by executive order, declared invalid by a
state tribunal authorized to make such determinations, or called
into question by a federal court’s issuance of a writ of habeas
corpus.” Heck v. Humphrev, 512 U.S. 477, 486-87 (l994). The
Supreme Court has extended §§gk to prison disciplinary proceedings
like the one in question here, concluding that claims for damages
and declaratory relief that necessarily imply the invalidity of the
punishment imposed in a disciplinary conviction are not cognizable

in a 42 U.S.C. §1983 proceeding. See Edwards v. Balisok, 520 U.S.

641, 646-48 (1997).

Plaintiff alleges that the proper procedure was not followed
at his sentencing. He states that no representative from the DOC
was present when his good time was forfeited, in violation of
Louisiana law. Plaintiff is presumably relying on the Louisiana
Corrections Private Management Act, La. R.S. 39:1800.1, et seq.
Even if the Louisiana statute was violated, that does not present
a constitutional claim under §1983. Such a challenge should be
raised in the Louisiana Nineteenth Judicial District Court.
Pursuant to La. R.S. l5:57l.l5, “Venue in any action in which an
individual committed to the Department of Public Safety and
Corrections contests the computation of his sentence or sentences,
discharge, good time dates, or any action concerning parole shall
be in the parish of East Baton Rouge....”

Moreover, Plaintiff has not alleged that his disciplinary
convictions or sentences have been reversed, expunged, invalidated,
or otherwise called into question. Thus, success in this suit
would necessarily imply the invalidity of Plaintiff's disciplinary
conviction and sanctions. Plaintiff’s claims are not cognizable in
a 42 U.S.C. §1983 proceeding. See Edwards v. Balisok, 520 U.S.
641, 646-48 (1997). His complaint should be dismissed as frivolous

under Heck.

Accordingly,
IT IS RECOMMENDED THAT Plaintiff’s request for appointment of
counsel be DENIED and his complaint be DENIED and DISMISSED WITH

PREJUDICE as frivolous, in accordance with the provisions of 28

U.S.C. § l9l5(e)(2)(B).

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Under the provisions of 28 U.S.C. Section 636(b)(l)(C) and
Rule 72(b), parties aggrieved by this recommendation have ten (10)
business days from service of this report and recommendation to
file specific, written objections with the Clerk of Court. A.party
may respond to another party’s objections within ten (10) days
after being served with a copy of any objections or response to the
District Judge at the time of filing.

Failure to file written objections to the proposed factual
findings and/or the proposed legal conclusions reflected in this
Report and Recommendation within ten (10) days following the date
of its service, or within the time frame authorized.by Fed.R.Civ.P.
6(b), shall bar an aggrieved. party from. attacking either the
factual findings or the legal conclusions accepted by the District
Court, except upon grounds of plain error. §§g Douqlass v. United

Services Automobile A§sociation, 79 F.3d 1415 (5th Cir. 1996).

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THUS DONE AND SIGNED at Alexandria, Louisiana, this‘¢§ § €:§r

 

    
  

D. Kirk
d States Magistrate Judge

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